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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil Action No. 07-cv-02126-MSK-CBS

   FREEDOM FROM RELIGION FOUNDATION, INC.;
   JOHN DOE;
   DOECHILD;
   JOHN ROE;
   MARY ZOE;
   ROECHILD-1; A MINOR CHILD; and
   ROECHILD-2, A MINOR CHILD,

          Plaintiffs,

   v.

   CHERRY CREEK SCHOOL DISTRICT # 5; and
   MONTE C. MOSES, IN HIS OFFICIAL CAPACITY AS SUPERINTENDENT OF SCHOOLS
   OF CHERRY CREEK SCHOOL DISTRICT # 5,

         Defendants.
   ______________________________________________________________________________

                    FIRST SUPPLEMENTAL SCHEDULING ORDER
   ______________________________________________________________________________

                            1. DATE OF CONFERENCE
                 AND APPEARANCES OF COUNSEL AND PRO SE PARTIES

          December 3, 2008, at 10:45 a.m.

          Robert R. Tiernan, Esq., attorney for Plaintiffs Freedom From Religion Foundation, Inc.;

   John Doe; DoeChild; John Roe; Mary Zoe; RoeChild-1, a minor child; and RoeChild-2, a minor

   child. 3165 S. Waxberry Way, Denver, Colorado 80231. (303) 671-2490.

          Richard J. Banta, Esq., attorney for Defendants Cherry Creek School District # 5 and

   Monte C. Moses, Superintendent of Schools of the Cherry Creek School District # 5. 7887 E.
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   Belleview Avenue, Suite 1100, Englewood, CO 80111. (303) 220-8000.

                               2. STATEMENT OF JURISDICTION

          Jurisdiction over Plaintiffs’ federal claims exists under 28 U.S.C. 1331 and 28 U.S.C.

   1343(a)(3) and (4). Jurisdiction over Plaintiffs’ state law claims exists pursuant to 28 U.S.C.

   1367(a).

                         3.   STATEMENT OF CLAIMS AND DEFENSES

          a.      Plaintiffs: Plaintiffs seek declaratory, injunctive, and remedial relief against the

   Cherry Creek School District # 5 (which operates public schools) and its Superintendent

   regarding their adoption, endorsement, and promotion of a program known as the 40

   Developmental Assets. These Assets are designed to form the basis for a Christian life and Asset

   19 in particular recommends that students engage in activities in a religious institution. The

   Assets are strongly promoted in a variety of ways to both students and parents and, in fact, are

   taught in the classroom.

          It is Plaintiffs’ position that the 40 Developmental Assets and the ways in which they are

   promoted throughout Defendants’ public school district constitute an establishment of religion

   and that they prohibit the free exercise of religion in violation of the First Amendment to the

   Constitution of the United States as applied to state and local governments and their

   instrumentalities by the Fourteenth Amendment. Plaintiffs also claim that such program violates

   Article II, Section 4 and Article IX, Section 8 of the Colorado Constitution which prohibit

   government from granting religious preferences and teaching sectarian tenets and doctrines.

          Plaintiffs contend that Defendants’ program shows favoritism to religion and religious

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   institutions, creates an excessive entanglement of government with religion, has the principal

   effect of advancing religion, turns Plaintiffs into outsiders based solely on religion, interferes

   with Plaintiff’s free exercise of religion guaranteed by the First Amendment, places the

   imprimatur of a public school system on institutions that teach dogma with which Plaintiffs

   disagree, promotes the idea that attendance at religious institutions is essential to good

   citizenship, would cause a reasonable observer to believe that the Defendants endorse religion,

   and that it is intended to indoctrinate students with the idea that religion is necessary to a well-

   balanced, productive life, an idea which is offensive to Plaintiffs and which Plaintiffs deny.

   Plaintiffs also contend that the Developmental Assets are self-defeating and that they have no

   valid secular purpose. They do not achieve, nor are they able to achieve, any of the benefits

   claimed by the Defendants, nor do they promote good citizenship, enable young people to realize

   their full individual and academic potential, or make them more likely to be successful

   academically, socially, or emotionally.

          b.      Defendants: The utilization of the 40 Development Asset Program (the “Asset

   Program”), as a matter of law and factually does not: (i) constitute the establishment of religion

   by the Defendants; (ii) create an entanglement between the district and religion; (iii) advance,

   promote or prohibit religion or a particular religious belief. The sole stated and applied reason

   for the use of the Asset Program is completely secular. The Defendants have not interfered with

   the Defendants’ free exercise of their religious or non-religious beliefs in any respect.

          The Asset Program and particularly Asset 19 is neither a mandated class nor part of the

   curriculum or course of study in any school within the district.

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          All students, parents and community members are clearly advised that the utilization of

   the Asset Program and the determination of which of the assets may be best for any student or

   family, if any, is determined by the individual family in consideration of their individual cultures

   and values.

          The Asset Program as utilized by the District neither grants any religious preference nor

   does it constitute the teaching of sectarian tenets and doctrines and no facts have been alleged by

   the Plaintiffs establishing even the basics of such state constitutional violations.

          The Defendants have raised the following affirmative defenses: (i) failure to state a claim

   upon which relief can be granted; (ii) waiver, latches and estoppel; (iii) statute of limitations; (iv)

   complete, good faith or official immunity; (v) lack of standing; (vi) false and harassing claims

   entitling the Defendants to costs and attorney fees; and (vii) mootness.

          c.      Other Parties: There are no other parties.

                                       4. UNDISPUTED FACTS

          The following facts are undisputed:

                  a. Plaintiff John Doe is a citizen of the United States, of the State of Colorado,

   and is a resident of the Cherry Creek School District. He owns property in such District and pays

   taxes to support the Cherry Creek School District. Plaintiff John Doe is a parent of DoeChild,

   but does not currently have a child attending any school within the Cherry Creek School District.

                  b. Plaintiff Mary Zoe is a citizen of the United States, of the State of Colorado,

   and is a resident of the Cherry Creek School District. She pays taxes to support the Cherry Creek

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   School District. Plaintiff Mary Zoe is the mother and legal custodian of Roechild-1 and

   RoeChild-2.

                  c. Plaintiff John Roe is a citizen of the United States and of the State of

   Colorado. He is the father of RoeChild-1 and RoeChild-2 and has joint legal custody of those

   children.

                  d. Plaintiff DoeChild is a citizen of the United States, of the State of Colorado,

   and is a resident of the Cherry Creek School District. He is the son of Plaintiff John Doe and

   was, but having graduated from high school is no longer, enrolled as a student in one of the

   School District’s public schools at the time this action was initiated.

                  e. Plaintiffs RoeChild-1 and RoeChild-2 are minor children of John Roe and

   Mary Zoe and are enrolled in and attend the Cherry Creek School District’s public schools

                  f. Plaintiff Freedom From Religion Foundation, Inc. is a non-profit corporation

   existing under the laws of the State of Wisconsin and authorized to do business in the State of

   Colorado. The Foundation promotes the constitutional separation of church and state. Plaintiffs

   John Doe and Mary Zoe are members of the Foundation.

                  g. The Defendant, Cherry Creek School District # 5 (the “District”), a political

   subdivision of the State of Colorado, is a public school district, located in Arapahoe

   County operating public schools within the District’s boundaries, and exists pursuant to the

   laws and Constitution of the State of Colorado.

                  h. Defendant Monte C. Moses (or his successor) is the Superintendent of the

   Cherry Creek School District # 5. As the chief executive officer, he is responsible, among

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   other things, for the day to day operation of the District’s schools, for carrying out the policies

   and programs of the District, and for such other duties as may be assigned to him by the Board of

   Education.

                   i. Defendant Cherry Creek School District # 5 utilizes a program known as “40

   Developmental Assets.”

                   j. Included among the 40 Developmental Assets is Asset 19 which states

   “Religious community – Young person spends one or more hours per week in activities in a

   religious institution.”

                   k. The list of the 40 Developmental Assets has been promoted to students,

   parents and the community. They have been placed in the 2006 - 2007, 2007 - 2008, and 2008 -

   2009 Master Calendars and have been posted in some of the schools in the District.

                   l. Asset No. 19 has been posted in at least one of the District’s schools alongside

   the photo of a child with her hands clasped under the title “Faith Community.”

                                 5. COMPUTATION OF DAMAGES

           No damages have been requested by any party other than costs and attorneys’ fees.

                      6. REPORT OF PRECONFERENCE DISCOVERY AND
                            MEETING UNDER FED. R. CIV. P. 26(f)

           a.      Date of rule 26(f) meeting: November 26, 2008.

           b.      Robert R. Tiernan, on behalf of all Plaintiffs, and Richard J. Banta, on behalf of

   all Defendants.

           c.        There are no proposed changes in timing or requirement of disclosures under Fed.


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   R. Civ. P. 26(a)(1).

          d.       Rule 26(a)(1) disclosures were made by the parties on May 5, 2008. Plaintiffs

   supplemented their disclosures on September 2, 2008.

          e.       Statement concerning any agreements to conduct informal discovery, including

   joint interviews with potential witnesses, exchanges of documents, and joint meetings with

   clients to discuss settlement. If there is agreement to conduct joint interviews with potential

   witnesses, list the names of such witnesses and a date and time for the interview which has been

   agreed to by the witness, all counsel, and all pro se parties. None.

          f.      Statement as to whether the parties anticipate that their claims or defenses will

   involve extensive electronically stored information, or that a substantial amount of disclosure or

   discovery will involve information or records maintained in electronic form. In those cases, the

   parties must indicate what steps they have taken or will take to (i) preserve electronically stored

   information; (ii) facilitate discovery of electronically stored information; (iii) limit associated

   discovery costs and delay; and (iv) avoid discovery disputes relating to electronic discovery.

   Describe any agreements the parties have reached for asserting claims of privilege or of

   protection as trial- preparation materials after production of computer-generated records. The

   parties do not believe the claims or defenses will involve extensive electronically stored

   information but the Defendants have taken steps to preserve electronically stored information to

   the extent any such information exists.

                                              7. CONSENT

          All parties have not consented to the exercise of jurisdiction of a magistrate judge.

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                                 8. CASE PLAN AND SCHEDULE

           a.     Deadline for Joinder of Parties and Amendment of Pleadings: January 6, 2009.

           b.     Discovery Cut-off: May 4, 2009.

           c.     Dispositive Motion Deadline: June 4, 2009.

           d.     Expert Witness Disclosure

                  (1)     Anticipated fields of expert testimony:

                          (a) Plaintiffs: The effect of religion on children and how they react to

   government promotion of religion.


                          (b) Defendants: The benefit of the 40 Developmental Assets on children’s

   development and education.


                  (2)     Each side is limited to one expert witness, absent leave of court.

                  (3)     The parties shall designate all experts and provide opposing counsel and

   any pro se party with all information specified in Fed. R. Civ. P. 26(a)(2) on or before April 7,

   2009.

                  (4)     The parties shall designate all rebuttal experts and provide opposing

   counsel and any pro se party with all information specified in Fed. R. Civ. P. 26(a)(2) on or

   before May 4, 2009.

                  (5)     Notwithstanding the provisions of Fed. R. Civ. P. 26(a)(2)(B), no

   exception to the requirements of the rule will be allowed by stipulation of the parties unless the

   stipulation is approved by the court.

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          e.      Deposition Schedule:

     Name of Deponent        Date of Deposition        Time of Deposition     Expected Length of
                                                                                 Deposition
    Bart Prieve             To be determined          To be determined      Three hours
    Rob Stuart              To be determined          To be determined      Two hours
    Monte Moses             To be determined          To be determined      Three hours
    Brenda Holben (or       To be determined          To be determined      Two hours
    her replacement)
    Plaintiff John Doe      To be determined          To be determined      Two hours
    Plaintiff John Roe      To be determined          To be determined      Two hours
    Plaintiff Mary Zoe      To be determined          To be determined      Two hours

          f.      Interrogatory Schedule: All Interrogatories must be served on or before February
   4, 2009.

         g.      Schedule for Request for Production of Documents: All Requests for Production
   and Requests for Admission must be served on or before March 1, 2009.

          h.      Discovery Limitations:

                  (1)    The presumptive limit in Fed.R.Civ.P. 30 shall apply.

                 (2)     The presumptive limit on length of depositions shall apply, absent
   agreement of the parties or leave of court for good cause shown.

                  (3)     Modifications which any party proposes on the presumptive numbers of
   depositions or interrogatories contained in the federal rules. None.

                  (4)   Limitations which any party proposes on number of requests for
   production of documents and/or requests for admissions. Each side is limited to twenty (20)
   requests under Fed.R.Civ.P. 34 and 36.

          (5)     Other Planning or Discovery Orders. None.




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                                          9. SETTLEMENT

         The parties discussed the possibilities for a prompt settlement or resolution of this case by

  alternate dispute resolution and have reached no agreement at this time.

                                 10. OTHER SCHEDULING ISSUES

          There are none.

                          11. DATES FOR FURTHER CONFERENCES

         a.       A settlement conference will be held on____________________ at ______

  o'clock __.m.

         It is hereby ordered that all settlement conferences that take place before the magistrate

  judge shall be confidential.

         ( )      Pro se parties and attorneys only need be present.

         ( )      Pro se parties, attorneys, and client representatives with authority to settle must be

  present. (NOTE: This requirement is not fulfilled by the presence of counsel. If an insurance

  company is involved, an adjustor authorized to enter into settlement must also be present.)

         ( )      Each party shall submit a Confidential Settlement Statement to the magistrate

  judge on or before _____________________ outlining the facts and issues, as well as the

  strengths and weaknesses of their case.

         b.       Status conferences will be held in this case at the following dates and times:

  ______________________________________________________________________________

  ______________________________________________________________________________

         c.       A final pretrial conference will be held in this case on _____________________

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  at_____ o’clock __.m.     A Final Pretrial Order shall be prepared by the parties and submitted to

  the court no later than five days before the final pretrial conference.

                                       12.   OTHER MATTERS

         In addition to filing an appropriate notice with the clerk’s office, counsel must file a copy

  of any notice of withdrawal, notice of substitution of counsel, or notice of change of counsel’s

  address or telephone number with the clerk of the magistrate judge assigned to this case.

         Counsel will be expected to be familiar and to comply with the Pretrial and Trial

  Procedures established by the judicial officer presiding over the trial of this case.

         In addition to filing an appropriate notice with the clerk's office, a pro se party must file a

  copy of a notice of change of his or her address or telephone number with the clerk of the

  magistrate judge assigned to this case.

         With respect to discovery disputes, parties must comply with D.C.COLO.LCivR 7.1A.

         The parties filing motions for extension of time or continuances must comply with

  D.C.COLO.LCivR 6.1D by submitting proof that a copy of the motion has been served upon the

  moving attorney's client, all attorneys of record, and all pro se parties.


                         13. AMENDMENTS TO SCHEDULING ORDER

         This scheduling order may be altered or amended by either party within thirty days after

  the Defendants files an answer to the complaint. Otherwise, this order may be altered or

  amended only upon a showing of good cause.


         DATED this _________ day of ________________ 200___.

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                                            BY THE COURT:



                                            _______________________________
                                            United States Magistrate Judge

  APPROVED:



    s/ Robert R. Tiernan                       s/ Richard J. Banta
  Robert R. Tiernan, Esq.                   Richard J. Banta, Esq.
  3165 S. Waxberry Way                      7887 E. Belleview Avenue #1100
  Denver, CO 80231                          Englewood, CO 80111
  (303) 671-2490                            (303) 220-8000
  Attorney for Plaintiffs                   Attorney for Defendants




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